




02-11-051-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00051-CV 

&nbsp;

&nbsp;


 
  
  In re Curtis Lee Sheppard
  
  
  &nbsp;
  
  
  RELATOR
  
 


&nbsp;

&nbsp;

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&nbsp;

ORIGINAL PROCEEDING

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MEMORANDUM
OPINION[1]

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The
court has considered relator’s petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp; Accordingly, relator’s petition for writ
of mandamus is denied.

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

PANEL:&nbsp;
MEIER, DAUPHINOT, and GABRIEL, JJ.

&nbsp;

DELIVERED:&nbsp;
March 15, 2011









[1]See
Tex. R. App. P. 47.4, 52.8(d).







